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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                  CRIMINAL ACTION NO. 99-10098-RGS

                              UNITED STATES

                                      v.

                           STEPHEN ROSSETTI

                MEMORANDUM AND ORDER ON
          DEFENDANT’S MOTION FOR COLLATERAL RELIEF

                               August 7, 2018

STEARNS, D.J.

      Petitioner Stephen Rossetti seeks habeas corpus relief pursuant to 28

U.S.C. § 2255, contending that his sentence as an armed career criminal is

constitutionally vulnerable in light of subsequent Supreme Court decisions,

namely Johnson v. United States (Johnson II), 135 S. Ct. 2551 (2015), and

Sessions v. Dimaya, 138 S. Ct. 1204 (2018). The court will grant the petition

and order resentencing.

              BACKGROUND AND PROCEDURAL HISTORY

      In 2001, Rossetti was convicted after a jury trial of conspiracy and

attempt to affect commerce by robbery in violation of 18 U.S.C. § 1951 (the

Hobbs Act), two counts of carrying a firearm in relation to a crime of violence

in violation of 18 U.S.C. § 924(c)(1), and two counts of being a felon in
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possession of firearms, ammunition, and a hand grenade in violation of 18

U.S.C. § 922(g)(1).      The predicate felony for the “crime of violence”

enhancement under § 924(c)(1) was a conspiracy to obstruct, delay and affect

commerce by robbery (Hobbs Act conspiracy).

     The underlying facts, briefly, were these. Rossetti and three other co-

conspirators planned to rob a Loomis Fargo armored car depot in Easton,

Massachusetts.      Unbeknownst to Rossetti, a member of his crew, who

purportedly had an inside connection at the depot1 who would help facilitate

the robbery, was in fact an FBI informant who surreptitiously recorded

various conversations among the conspirators, including a pre-robbery

planning meeting at a diner in Dorchester. In these conversations, Rossetti

shared detailed advice about how best to carry out the robbery, including

how to don masks without pulling out hair that could be used to identify the

wearer, how to subdue and tie up the guards, and how to remove the depot’s

video surveillance tapes without making the robbery seem like an inside job.

More damning, Rossetti also provided guns, walkie-talkies, police scanners,

body armor, and a live fragmentation grenade for use in the robbery. He and




     1
         The supposed “insider” was a figment of the informant’s imagination.
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one of his co-conspirators, David Turner2, were arrested by the FBI the

morning that the robbery was to take place.

     Following Rossetti’s conviction, his Presentence Report concluded that

he was an armed career criminal as defined in 18 U.S.C. § 924(e)(1), citing

the following prior convictions: (1) Massachusetts breaking and entering

(B&E) in the nighttime (B&E nighttime) in 1977; (2) attempted B&E in 1979;

and (3) federal armed robbery in 1983. The court sentenced Rossetti to a

total of 622 months (51 years and ten months) in prison as follows: 240

months for the Hobbs Act conspiracy and the attempt to rob, 262 months on

the felon in possession charges (to be served concurrently with the Hobbs

Act sentence), and 360 months on the 924(c) counts, to be served

consecutive to the other sentences (as required by statute). That sentence

was vacated by the First Circuit in light of United States v. Booker, 543 U.S.

220 (2005), but this court reimposed the same sentence on remand. See Dkt

# 540.


      2Turner also filed a Motion to Vacate under § 2255. The court initially
denied Turner’s Motion on May 20, 2009, see Dkt # 562, but subsequent to
Johnson II Turner sought permission in the Court of Appeals to file a second
and successive petition. That petition was stayed for Dimaya and is still
pending. Lacking jurisdiction to review Turner’s petition while the First
Circuit is still considering whether to permit him to file a second and
successive petition, I express no views on how Rossetti’s case bears on
Turner’s efforts to obtain post-conviction relief.

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      On June 8, 2016, the First Circuit granted Rossetti’s motion to file a

second and successive petition in light of Johnson II, concluding that

Rossetti’s challenge to his armed-career-criminal designation relied on a

“new rule of constitutional law, made retroactive to cases on collateral review

by the Supreme Court, that was previously unavailable.” 28 U.S.C.

§ 2255(h)(2). Rossetti’s instant motion followed. Shortly thereafter, the

Supreme Court granted certiorari in Lynch v. Dimaya, which raised a

question of whether the residual clause of 18 U.S.C. § 16(b) – identical in

wording to the language in § 924(c)(3)(B) – was unconstitutionally vague in

light of Johnson II. Because the answer to that question was likely to prove

dispositive in resolving Rossetti’s petition, the court granted a joint request

to stay further proceedings pending the Supreme Court’s decision in Dimaya

(by then styled Sessions v. Dimaya). See Dkt ## 741, 742.

      The Dimaya decision in hand, see 138 S. Ct. 1204 (2018), the court

requested the parties to file supplemental memoranda on its effect on

Rossetti’s petition. They did and the matter is now ripe for review.

                                DISCUSSION

      The present motion need not detain the reader for long. The Supreme

Court in Dimaya taught that “Johnson tells us how to resolve this case,”

Dimaya, 138 S. Ct. at 1223, concluding that the same “[t]wo features” that


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“conspire[d] to make” the ACCA’s residual clause unconstitutionally vague –

“the ordinary case requirement and an ill-defined risk threshold” – also

operated to make §16(b) unconstitutionally void. Dimaya thus applies

directly to Rossetti’s case: because the language in the residual clauses of

§ 16(b) and § 924(c) is identical, Dimaya’s reasoning dooms the residual

clause of § 924(c).

      In a case decided before Dimaya, I had reached the opposite

conclusion, believing that § 924(c)’s residual clause could be fairly

distinguished from the ACCA’s residual clause. See United States v. Correia,

2017 WL 80245 (D. Mass. 2017).3 However, in light of the plain language in

Dimaya, that conclusion is no longer tenable, and at least one Circuit Court

of Appeals has already so found. See United States v. Salas, 889 F.3d 681,

685 (10th Cir. 2018) (noting that “[o]ther circuits have upheld §

924(c)(3)(B)’s constitutionality, but they were not faced, as we are here, with

binding authority holding § 16(b) unconstitutional”); see also id. at 687

(holding that “the reasons why §16(b) is unconstitutionally vague apply

equally to § 924(c)(3)(B)”).




      3Correia’s case is currently pending review in the First Circuit in light
of Dimaya and this court therefore lacks jurisdiction to reconsider its
previous ruling.
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      More to the point, the Supreme Court in Dimaya rejected the

structural and linguistic differences between § 924(e) and §16(b) on which I

had relied in upholding the constitutionality § 924(c): namely, that unlike

the ACCA, § 924(c) did not contain a grab bag list of disparate exemplar

offenses; that it was temporally limited to force used “in the course of

committing the offense,” whereas the ACCA’s residual clause had no such

limiting language; and that it was narrower in scope than its ACCA

counterpart because § 924(c) focused solely on whether there was a

substantial risk that physical force would be used, whereas the ACCA’s

residual clause required courts to inquire about the risk of actual “physical

injury” to a victim. These three considerations were explicitly rejected by the

Supreme Court in Dimaya with respect to § 16(b).

      In something of a volte-face, the government now suggests that the

concern should be with a defendant’s actual conduct, rather than using a

categorical approach to assess the risk imposed by the “ordinary case” of the

predicate crime. The government’s position until recently has been that

§ 924(c)(3)(B) requires a categorical approach – a conclusion that, as I noted

in Correia, the First Circuit has never definitively held but that the lower

district courts had regularly assumed to be the case.




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      I had previously observed in Correia that there is an intuitive appeal

to a conduct-specific approach in residual clause cases because “[u]nlike the

ACCA’s residual clause, which examines past convictions to enhance a

sentence, § 924(c) determinations are bound up with the circumstances of

the defendant’s conviction.” Correia, 2017 WL 80245, at *2 n. 1. In a real-

life context it is far easier to gauge whether a defendant’s specific crime “by

its nature, involve[d] a substantial risk that physical force against the person

or property of another may be used in the course of committing the offense.”

§ 924(c)(3)(B). In this instance a conspiracy to rob an armored car depot

undertaken with a fragmentation grenade, firearms, and body armor would

likely strike the average person as a crime that “by its nature” involved a

substantial risk that the use of physical force was well within the

contemplation (and the means) of the conspirators. 4

      Nevertheless, application of the conduct-specific approach is

precluded by Dimaya, which went after the identically-worded residual

clause in § 16(b) using the categorical approach. See Dimaya, 138 S. Ct. at

1211. Justice Kagan’s separate opinion for herself and three other Justices in

Dimaya also noted that the government in that case had not argued for the


      4To paraphrase Samuel Clemens, as judges we can be depended on “to
take any reasonably good law and interpret the common sense all out of it.”
Mark Twain, Unmailed Letter to H.C. Christiancy, December 18, 1887.
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conduct-specific approach, in part because to do so would “ping-pong” the

court from one constitutional problem to another under the Sixth

Amendment. See id. at 1217 (Opinion of Kagan, J.,); see also Descamps v.

United States, 570 U.S. 254, 269 (2013) (“We have held that ‘[o]ther than the

fact of a prior conviction, any fact that increases the penalty for a crime

beyond the prescribed statutory maximum must be submitted to a jury, and

proved beyond a reasonable doubt.’”) (quoting Apprendi v. New Jersey, 530

U.S. 466, 490 (2000)).

     Although courts are counseled to interpret statutes whenever possible

to avoid constitutional problems, see Ashwander v. Tenn. Valley Auth., 297

U.S. 288, 348 (1936) (Brandeis, J., concurring), as the Supreme Court has

recently cautioned, the constitutional avoidance canon is not a license for a

court to “adopt implausible constructions” of a statute or to otherwise

“rewrite it.” Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018). Here, the

best (and only plausible) reading of the Supreme Court’s decision in Dimaya

is one that requires application of the categorical approach to § 924(c)’s

residual clause, as several Courts of Appeals have already found. See, e.g.,

United States v. Butler, 496 Fed. App’x 158, 161-162 (3d Cir. 2012); United

States v. Fuertes, 805 F.3d 485, 498 (4th Cir. 2015); United States v.




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Prickett, 839 F.3d 697, 698 (8th Cir. 2016). This court therefore finds that

§ 924(c)(3)(B) is unconstitutionally vague.

      The court also agrees with Rossetti that his conviction for Hobbs Act

conspiracy is not a crime of violence under 18 U.S.C. § (c)(3)(A) (the force

clause). The Hobbs Act, 18 U.S.C. § 1951, provides that: “Whoever in any way

or degree obstructs, delays, or affects commerce or the movement of any

article or commodity in commerce, by robbery or extortion or attempts or

conspires to do so . . . shall be fined under this title or imprisoned for more

than twenty years, or both.” Unlike the general conspiracy statute, 18 U.S.C.

§ 371, a Hobbs Act conspiracy does not require the commission of any overt

act, see United States v. Monserrate-Valentin, 729 F.3d 31, 46 (1st Cir. 2013),

but only requires an agreement by a defendant to obtain property by robbery.

There is no required element of a use, attempted use, or threatened use of

physical force, to complete the crime. As a result, numerous courts have

rejected the argument that a Hobbs Act conspiracy satisfies § 924(c)’s force

clause requirements, see, e.g., Verleff v. United States, 307 F. Supp. 3d 891

(N.D. Ill. 2018); United States v. Hernandez, 228 F. Supp. 3d. 128, 138-139

(D. Me. 2017), and this court, albeit reluctantly, joins them today.




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                                  ORDER

     For the foregoing reasons, Rossetti’s petition for collateral relief is

GRANTED. 5

                                   SO ORDERED.

                                   /s/ Richard G. Stearns
                                   __________________________
                                   UNITED STATES DISTRICT JUDGE




     5  The government also argues that Rossetti fails to satisfy the § 2255
gatekeeping requirements for collateral review and that his claim is
untimely. However, the court finds it clear that Johnson II and Dimaya do
apply to § 924(c)(3)(B), and therefore his second or successive petition rests
on a “new rule of constitutional law, made retroactive to cases on collateral
review by the Supreme Court, that was previously unavailable.” Rossetti’s
claim was filed within one year of Johnson II and was stayed with the parties’
joint consent and the court’s permission pending Dimaya. His claim is
therefore timely under §2255(f)(3).
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